                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       at WINCHESTER



 UNITED STATES OF AMERICA,                         )
                                                   )
                                                   )
                                                   )           No. 4:06-CR-04
 v.                                                )
                                                   )           Judge Curtis L. Collier
                                                   )
 ERIC ANDERSON,                                    )
                                                   )
                Defendant.                         )


                                             ORDER

        Defendant Eric Anderson (“Defendant”) has filed a “Motion for Change of Trial Venue”

 (Court File No. 122) requesting the Court hold the trial in this case in Winchester, Tennessee, rather

 than in Chattanooga, Tennessee. At this early point in the case, the Court is not prepared to decide

 whether to conduct any trial in this case in the Chattanooga or Winchester Division. The Court may

 well decide to try the case in the Winchester Division at a later date. However, at this time, the

 Court must DENY the motion (Court File No. 122). By denying the motion, the Court is not

 indicating the case will remain in the Chattanooga Division. Should the Court decide to try the case

 in the Winchester Division, the Court will notify the parties. No additional motions are necessary.

        SO ORDERED.

        ENTER:



                                                /s/
                                                CURTIS L. COLLIER
                                                CHIEF UNITED STATES DISTRICT JUDGE




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